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              EXHIBIT E
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              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

Title              AUTOMATIC UPLOAD OF PICTURES FROM A CAMERA
Serial. No.        14/950,370         Confirmation No. 6709
Applicant          Jeffrey C. Konicek TC/ A.U.         2852
Filed              November 23 , 2015 Examiner         Rodney E. Fuller

Docket No.         Torpere-F04-512
Customer No.       107554



 Mail Stop Amendment
 Commissioner for Patents
 P.O. Box 1450
 Alexandria VA 22313-1450

                    SUPPLEMENTAL AMENDMENT TO THE CLAIMS

 Dear Examiner:

         In view of subject matter the Examiner found allowable in related Application No.
 15,188,736, Applicant files herewith a supplemental amendment to the claims to also place the
 claims herein in condition for allowance. This amendment supplements Applicant' s response to
 non-final office action and related amendments timely filed on December 20, 2017.

        Amendments to the Claims begin on page 2 below.

        Applicant's Interview Summary and Remarks begin on page 9 below.




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                                      AMENDMENTS TO THE CLAIMS

This listing of claims will replace all prior versions, and listings, of claims in the application.


1 - 20. (Canceled)


21. (Currently Amended) A camera system comprising:
     (a) a lens;
     (b) a \V-IF+...r~:LL~,;..Lm:__interface;
     (c) an image sensor configured to take pictures;
     (d) a non-volatile)ocrd. memory configured to store one or more pictures;




     (f) ti'W·lLCOntroller configured to;.




            HD.automatically connect to dw,-;uemote picture hosting service and cause an upload
     of one or more pictures stored in the non-volatile memory to the remote picture hosting




              (2) an indication that the system is connected to the internet via the -WIFl--ce:Iuhtr
                   interface;_ and




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22. (Canceled).


23 . (Previously Presented) The camera system of claim 21 wherein the remote picture hosting
service is associated with an email account.


24. (Previously Presented) The camera system of claim 21 further comprising:
    (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
    (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


25. (Previously Presented) The camera system of claim 21, wherein the remote picture hosting
service includes printing services.



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26. (Previously Presented) The camera system of claim 21 further comprising a camera body
and a stylus housed within the camera body.


27. (Currently Amended) The camera system of claim 21, wherein the controller is further


the non-volatile memory, the picture sequence file comprising:
             (1) a first picture taken with the image sensor and stored in the non-volatile memory;
             (2) a second picture taken with the image sensor and stored in the non-volatile
                memory;
             (3) data from a sound file downloaded via the WIFI interface and stored in the non-
                volatile memory.


28. (Previously Presented) The camera system of claim 27, wherein the controller is further
configured to upload the picture sequence file to the remote picture hosting service via the WIFI
interface.


29. (Previously Presented) The camera system of claim 21 wherein the controller is configured
to receive a selection of specific pictures stored in the non-volatile memory to be uploaded to the
remote picture hosting service.




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31. (Currently Amended) The camera system of claim 30 wherein the H",~H:etf,-f:~i'\'b"h'>-hf~<:,t\-H-g




32. (Currently Amended) The camera system of claim JO-?J.further comprising:




     (i )_the,,~ voice recognizer (1) coupled to and configured to receive and process sounds




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34. (Currently Amended) The camera system of claim 3-9-.3 3... ,vherein. the. con troll er)s



   ' .- '                            .      .
~,-~~t{~ltH--i+1~~-{>Hf1:lf}:i:it:-~\H:.~-.:Jy:.




35. (Currently Amended) The camera system of claim ,Y\U, wherein Qg)L,Q_LJ15}J·S:\~L'~hj\




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36. (Currently Amended) The camera system of claim 3-532~ wherein one _of th e \Vord.t>_t&




37. (Currently Amended) The camera system of claim ?~?--21.. wherein the controller is configured




38. (Currently Amended) A camera system comprising:
     (a) a lens;


cellular interface;
     (c) an image sensor configured to take pictures;
     (d) a non-volatile memory configured to store one or more pictures;
     ( e) a touch sensitive display-";ei:ri.l-g,H~id--h::,-di~-p-kiy-'




     (f) -btw-:?__ controller configured to
             (1)   r e c. e~ \ / e ., _ \
                                            7. i a J : b e   J o u c-h_se_n s i · t i .._,.te   _d·~-~\Dlav,   a_ u. s cr   _s e i e c -t.i o   n   _of.an_ u.p i oad._O J)t ~ on_   that




             {?}.automatically connect to th-e,-r_remote picture hosting service and cause an upload
                   of one or more pictures stored in the non-volatile memory to the remote picture
                   hosting service via >'H'-k'H:m'-<:.''ne--ef-th{::,+h:'h'-''Jf·k:Ju:_cdlubr interfaces, after


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                   receiving:




                   (ii) an indication that the system is connected to the internet via (:,\fot'F--e-f the
                       ,,1,;_,h\+.~>"kJ:gL/_u]AL.interface~ to the remote picture hosting service; __m:hi




           (:,s_:; )       automatically er,H-N\:,e-l--te,-I,l,w-h~:,H,-i.c:,-H}H,-?Hh~'-,tHd--cause an upload of one or
                   more pictures stored in the non-volatile memory to ttw--_n __home computer via the
                   \\LfF,l--cdlular _interface, after predetermined conditions are met, the predetermined
                   conditions including at least receiving:




39. (Previously Presented) The camera system of claim 38 further comprising:
    (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
    (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


40. (Previously Presented) The camera system of claim 38 further comprising a camera body
and a stylus housed within the camera body.


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                          INTERVIEW SUMMARY AND REMARKS

       On January 30, 2018, Examiner Rodney Fuller and the undersigned counsel of record
Justin Lesko conducted a brief interview. During the interview, Mr. Lesko pointed out that the
Examiner issued a notice of allowance in related Application No. 15/188,736 ("the '736
Application") on January 19, 2018. Although Applicant maintains that the claims filed with
Applicant's Response to NFOA dated December 20, 2017 are patentable, Mr. Lesko proposed
that (in the interest of compact and efficient prosecution) an amendment to the claims should be
filed in the present case to include the allowable subject matter from the '736 Application, which
would result in prompt allowance. The Examiner agreed and instructed Applicant to file a
supplemental amendment herein.
       Accordingly, without prejudice or disclaimer of the previously claimed subject matter,
which Applicant expressly reserves the right to pursue in one more continuation applications,
Applicant has amended the claims as set forth herein to claim allowable subject matter from the
'736 Application.
       In view of the above, Applicant believes that claims 21 and 23-40 are in condition for
allowance. If the Examiner has any questions or believes an interview would expedite
prosecution of this case, please contact the undersigned.


                                                     Respectfully Submitted,
                                                     /Justin J. Lesko/
                                                     Justin J. Lesko
                                                     Reg. No. 69,643
Dated: February 8, 2018
                                                     Law Offices of Steven G. Lisa, Ltd.
                                                     55 East Monroe Street Suite 3800
                                                     Chicago, IL 60603
                                                     Telephone: (773) 484-3285
                                                     Attorney for Applicant




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              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

Title              AUTOMATIC UPLOAD OF PICTURES FROM A CAMERA
Serial. No.        14/950,370         Confirmation No. 6709
Applicant          Jeffrey C. Konicek TC/ A.U.         2852
Filed              November 23 , 2015 Examiner         Rodney E. Fuller

Docket No.         Torpere-F04-512
Customer No.       107554



 Mail Stop Amendment
 Commissioner for Patents
 P.O. Box 1450
 Alexandria VA 22313-1450

                       RESPONSE TO NON-FINAL-OFFICE ACTION

 Dear Examiner:

         This submission is responsive to the Office Action issued in the above-captioned applica-
 tion dated June 20, 2017. A request for a three month extension of time, together with the re-
 quired fee, is provided herewith.

        Amendments to the Drawings begin on page 2 below.

        Amendments to the Specification begin on page 3 below.

        Amendments to the Claims begin on page 4 below.

        Applicant's Remarks begin on page 10 below.




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                           AMENDMENTS TO THE DRAWINGS

       Please replace Figures 1, 2, 3, 4, and Sa-c with replacement Figures IA, lB , 2, 3, 4, SA,

SB, and SC. The replacement figures are included on sheets 1/8 through 8/8 submitted herewith

and identified as "Replacement Sheets."




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                        AMENDMENTS TO THE SPECIFICATION

       Applicant herewith submits a substitute specification including reference to the stylus and
picture editor in the drawings. The substitute specification is submitted with markings and
accompanied by a clean version without markings in compliance with 37 CFR 1.52, l.12l(b)(3)
and 1.125. In accordance with 37 CFR l .125(b ), Applicant believes that the substitute
specification contains no new matter.




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                                  AMENDMENTS TO THE CLAIMS

This listing of claims will replace all prior versions, and listings, of claims in the application.


1 - 20. (Canceled)


21. (Currently Amended) A camera system comprising:
     (a) a lens;
     (b) a WIFI interface;
     (c) an image sensor configured to take pictures;
     (d) a non-volatile memory configured to store one or more pictures;
     (e) a touch sensitive display configured to display:
            (1) a user-selectable menu option to designate one or more pictures stored in the non-
                   volatile memory to be uploaded to a remote picture hosting service; and
            (2) a user-selectable menu option to enable a controller to automatically connect to
                   the remote picture hosting service and upload designated pictures stored in the
                   non-volatile memory via the WIFI interface;
     (f) the controller configured to automatically connect to the remote picture hosting service
and cause an upload of one or more pictures stored in the non-volatile memory to the remote
picture hosting service via the WIFI interface, after predetermined conditions are met, the
predetermined conditions including receiving:
            (1) an indication that the menu options of elements (e)(l) and (e)(2) have been
                   enabled; and
     (2) an indication that the system is connected to the internet via the WIFI interface;




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22. (Canceled).


23. (Previously Presented) The camera system of claim 21 wherein the remote picture hosting
service is associated with an email account.


24. (Previously Presented) The camera system of claim 21 further comprising:
    (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
    (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


25. (Previously Presented) The camera system of claim 21, wherein the remote picture hosting
service includes printing services.


26. (Previously Presented) The camera system of claim 21 further comprising a camera body
and a stylus housed within the camera body.


27. (Previously Presented) The camera system of claim 21, wherein the controller is further
configured with a picture editor for creating and storing a picture sequence file in the non-
volatile memory, the picture sequence file comprising:
           (1) a first picture taken with the image sensor and stored in the non-volatile memory;
           (2) a second picture taken with the image sensor and stored in the non-volatile
               memory;
           (3) data from a sound file downloaded via the WIFI interface and stored in the non-
               volatile memory.


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28. (Previously Presented) The camera system of claim 27, wherein the controller is further
configured to upload the picture sequence file to the remote picture hosting service via the WIFI
interface.


29. (Previously Presented) The camera system of claim 21 wherein the controller is configured
to receive a selection of specific pictures stored in the non-volatile memory to be uploaded to the
remote picture hosting service.


30. (Previously Presented) A camera system comprising:
     (a) a lens;
     (b) two or more network interfaces, including at least a WIFI interface and a wireless
cellular interface;
     (c) an image sensor configured to take pictures;
     (d) a non-volatile memory configured to store one or more pictures;
     (e) a touch sensitive display configured to display:
             (1) a user-selectable menu option to designate one or more pictures stored in the non-
                   volatile memory to be uploaded to a remote picture hosting service; and
             (2) a user-selectable menu option to enable a controller to automatically connect to
                   the remote picture hosting service and upload designated pictures stored in the
                   non-volatile memory; and
     (f) the controller configured to:
             (1) automatically connect to the remote picture hosting service and cause an upload of
                   one or more pictures stored in the non-volatile memory to the remote picture
                   hosting service via one of the two or more network interfaces, after predetermined
                   conditions are met, the predetermined conditions including receiving:
                   (i) an indication that the menu options of elements (e)(l) and (e)(2) have been
                       enabled; and
                   (ii) an indication that the system is connected to the internet via at least one of the
                      two or more network interfaces; and



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           (2) cause the upload to occur via the WIFI interface if the system is connected to the
               internet via both the WIFI interface and the wireless cellular interface.


31. (Previously Presented) The camera system of claim 30 wherein the remote picture hosting
service is associated with an email account.


32. (Previously Presented) The camera system of claim 30 further comprising:
    (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
    (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


33. (Previously Presented) The camera system of claim 30, wherein the remote picture hosting
service includes printing services.


34. (Previously Presented) The camera system of claim 30 further comprising a camera body
and a stylus housed within the camera body.


35. (Previously Presented) The camera system of claim 30, wherein the controller is further
configured with a picture editor for creating and storing a picture sequence file in the non-
volatile memory, the picture sequence file comprising:
           (1) a first picture taken with the image sensor and stored in the non-volatile memory;
           (2) a second picture taken with the image sensor and stored in the non-volatile
               memory;
           (3) data from a sound file downloaded via one of the two or more interfaces and
               stored in the non-volatile memory.


36. (Previously Presented) The camera system of claim 35, wherein the controller is further
configured to upload the picture sequence file to the remote picture hosting service via one of the
two or more interfaces.


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37. (Previously Presented) The camera system of claim 30 wherein the controller is configured
to receive a selection of specific pictures stored in the non-volatile memory to be uploaded to the
remote picture hosting service.


38. (Previously Presented) A camera system comprising:
     (a) a lens;
     (b) two or more network interfaces, including at least a WIFI interface and a wireless
cellular interface;
     (c) an image sensor configured to take pictures;
     (d) a non-volatile memory configured to store one or more pictures;
     (e) a touch sensitive display configured to display:
            (1) a user-selectable menu option to designate one or more pictures stored in the non-
                   volatile memory to be uploaded to a remote picture hosting service;
            (2) a user-selectable menu option to enable a controller to automatically connect to
                   the remote picture hosting service and upload designated pictures stored in the
                   non-volatile memory via at least one of the network interfaces;
            (3) a user-selectable menu option to enable the controller to automatically connect to
                   a home computer and upload designated pictures stored in the non-volatile
                   memory via the WIFI interface; and
     (f) the controller configured to
            (1) automatically connect to the remote picture hosting service and cause an upload
                   of one or more pictures stored in the non-volatile memory to the remote picture
                   hosting service via at least one of the network interfaces, after predetermined
                   conditions are met, the predetermined conditions including at least receiving:
                   (i) an indication that the menu options of elements (e)(l) and (e)(2) have been
                       enabled;
                   (ii) an indication that the system is connected to the internet via either of the
                      network interfaces to the remote picture hosting service;
            (2) automatically connect to the home computer and cause an upload of one or more
                   pictures stored in the non-volatile memory to the home computer via the WIFI


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               interface, after predetermined conditions are met, the predetermined conditions
               including at least receiving:
               (i) an indication that the menu options of elements (e)(l) and (e)(3) have been
                   enabled;
               (ii) an indication that the system is connected to the home computer via the WIFI
                  interface.


39. (Previously Presented) The camera system of claim 38 further comprising:
    (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
    (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


40. (Previously Presented) The camera system of claim 38 further comprising a camera body
and a stylus housed within the camera body.




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                                            REMARKS
         The Examiner' s June 20, 2017 Non-Final Office Action ("NFOA") in this application is
received with thanks. Claims 21 and 23-40 are currently pending.
        In the NFO A, the Examiner objected to the drawings under 3 7 CFR 1.83 (a) as not
showing "a stylus housed within the camera body" and "a picture editor." Applicant herewith
amends the drawings to show those items, and Applicant amends the specification to reference
the figures . No new matter has been added, as the figures have been amended simply to items
already present in the original specification.
        In addition, Applicant amends Claims 21 solely to expedite prosecution and focus the
issues, and cancels Claim 22, which is redundant in view of the amendments to Claim 21.
Applicant traverses the non-final rejections of Claims 21 and 23-40, as discussed below.


Summary of the Non-Final Rejections

         The June 20, 2017, Non-Final Office Action includes the following non-final rejections:
         •   Claims 21 , 23-24 and 29 stand provisionally rejected on the ground of nonstatutory
             double patenting as being unpatentable over claims 21-26 and 28-40 of copending
             Application No. 15/188,746;
         •   Claims 21 and 23-40 stand rejected under pre-AIA 35 U.S .C. § 112 first paragraph, as
             failing to comply with the enablement requirement;
         •   Claims 21, 23, 25-31, 33-38, and 40 stand rejected under pre-AIA 35 U.S.C. § 102(e)
             as being anticipated by Rothschild (U.S. 2006/0114338);
         •   Claims 24, 32, and 39 stand rejected under pre-AIA 35 U.S.C. § 103(a) as being
             unpatentable over Rothshild in view oflmamura (U.S. 2005/00168579).
         Applicant believes these rejections must be withdrawn and respectfully requests
allowance of Claims 21-26 and 28-40.


Applicant's Response to the Non-Final Rejections

I.       The Provisional Double Patenting Rejections are Moot

         The claims of copending Application No. 15/188, 746 have been amended, and therefore,
the Examiner's provisional double patenting rejections from the NFOA are moot. Applicant
requests that the Examiner withdraw these rejections.




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II.    The Claims are Enabled

       MPEP 2164.01 Recites: "Any analysis of whether a particular claim is supported by the
disclosure in an application requires a determination of whether that disclosure, when filed, con-
tained sufficient information regarding the subject matter of the claims as to enable one skilled in
the pertinent art to make and use the claimed invention. The standard for determining whether
the specification meets the enablement requirement was cast in the Supreme Court decision of
Minerals Separation Ltd. v. Hyde, 242 U.S. 261, 270 (1916) which postured the question: is the
experimentation needed to practice the invention undue or unreasonable? That standard is still
the one to be applied. In re Wands, 858 F.2d 731, 737, 8 USPQ2d 1400, 1404 (Fed. Cir. 1988).
Accordingly, even though the statute does not use the term "undue experimentation," it has been
interpreted to require that the claimed invention be enabled so that any person skilled in the art
can make and use the invention without undue experimentation. In re Wands, 858 F.2d at 737, 8
USPQ2d at 1404 (Fed. Cir. 1988). See also United States v. Telectronics, Inc., 857 F.2d 778,
785, 8 USPQ2d 1217, 1223 (Fed. Cir. 1988) ("The test of enablement is whether one reasonably
skilled in the art could make or use the invention from the disclosures in the patent coupled with
information known in the art without undue experimentation."). A patent need not teach, and
preferably omits, what is well known in the art. In re Buchner, 929 F.2d 660, 661, 18 USPQ2d
1331, 1332 (Fed. Cir. 1991); Hybritech, Inc. v. Monoclonal Antibodies, Inc., 802 F.2d 1367,
1384, 231 USPQ 81, 94 (Fed. Cir. 1986), cert. denied, 480U.S. 947 (1987); and Lindemann
Maschinenfabrik GMBH v. American Hoist & Derrick Co., 730 F.2d 1452, 1463, 221 USPQ
481, 489 (Fed. Cir. 1984). Any part of the specification can support an enabling disclosure, even
a background section that discusses, or even disparages, the subject matter disclosed therein.
Callicrate v. Wadsworth Mfg., Inc., 427 F.3d 1361, 77 USPQ2d 1041 (Fed. Cir. 2005)(discussion
of problems with a prior art feature does not mean that one of ordinary skill in the art would not
know how to make and use this feature).
       First, with respect to "menu options" (Claim 2l(e), Claim 2l(h), Claim 30(e), and Claim
38(e)) the Examiner appears to be focused on the fact that the specification may not explicitly
describe each function as a "menu option." However, a person of ordinary skill in the art at the
time of the invention would immediately see the disclosure of menu options in Applicant's speci-
fication and the various functions of the device claimed, and recognize how to include those
claimed functions as part of menus in the device. As stated above, the specification need not

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teach, and preferably omits, what is known in the art. Undue experimentation would not be re-
quired to turn the various functions identified above into menu options, which is not a complicat-
ed process.
        Similarly, with respect to "receiving an indication" (Claim 2l(f), Claim 2l(i), Claim
30(f), and Claim 38(f)), the examiner is focused on a specific word - "indication" - and the us-
age of that particular word in the specification. However, "[t]he test for sufficiency of support in
a parent application is whether the disclosure of the application relied upon "reasonably conveys
to the artisan that the inventor had possession at that time of the later claimed subject matter."
Ralston Purina Co. v. Far-Mar-Co., Inc., 772 F.2d 1570, 1575, 227 USPQ 177, 179 (Fed. Cir.
1985) (quoting In re Kaslow, 707 F.2d 1366, 1375, 217 USPQ 1089, 1096 (Fed. Cir. 1983)).
Thus, there is no requirement for Applicant to use the word "indication" throughout the specifi-
cation in order for the claims to be supported. Applicant's support in the specification is specific
- when certain conditions are met, certain uploads occur. And the fact that an "indication" (i.e,
some sort of proof in the form of an electronic signal) of a met condition was received would
immediately be understood by a skilled artisan without the need for undue experimentation.
        The NFOA also asserts that the specification does not support "picture editor." However,
no explanation is provided by the Examiner. According to M.P.E.P. 2164.04: "In order to make
a rejection, the examiner has the initial burden to establish a reasonable basis to question the en-
ablement provided for the claimed invention." In re Wright, 999 F .2d 1557, 1562, 27 USPQ2d
1510, 1513 (Fed. Cir. 1993) (examiner must provide a reasonable explanation as to why the
scope of protection provided by a claim is not adequately enabled by the disclosure). The Exam-
iner, by providing no explanation, has failed to meet his burden here. Accordingly, Applicant
simply refers the examiner to the claim support chart provided by Applicant on November 24,
2015.
        As to "two or more network interfaces" (Claim 30(b ), Claim 36, Claim 38(b )), the NFOA
correctly points to paragraph [0038]: "the inventive camera system automatically connects to the
internet preferably via WIFI, although cellular network, etc. connection is also contemplated."
This paragraph states explicitly that both types of network connections (and thus, corresponding
interfaces) are contemplated for the same inventive camera system at the same time. A skilled
artisan would readily understand that different interfaces are required and known at the time of



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the invention for connecting to those networks, without undue experimentation. Paragraph
[003 7] reinforces the point that both networks are available, and WIFI is often preferred.
        In view of the above, Applicant respectfully requests for the Examiner to withdraw the
rejections based upon pre-AIA 35 U.S.C. § 112 first paragraph.


III.    The Anticipation Rejections Are Based on A Fundamental Misunderstanding of
       Applicant's claims
        "A claim is anticipated only if each and every element as set forth in the claim is found,
either expressly or inherently described, in a single prior art reference." Verdegaal Bros. v.
Union Oil Co. of California, 814 F.2d 628, 631 (Fed. Cir. 1987). "The identical invention must
be shown in as complete detail as is contained in the ... claim." Richardson v. Suzuki Motor Co.,
868 F.2d 1226, 1236 (Fed. Cir. 1989).
        The anticipation rejections from the NFOA are improper for many reasons. However, for
the sake of brevity and to expedite prosecution, Applicant focuses on a single (and critical) issue:
in view of Applicant's amendment to Claim 21 , each of the independent claims (Claims 21, 30
and 38) recites a single camera with at least two separate and distinct network interfaces,
including at least a WIFI interface and a wireless cellular interface. The WIFI interface is used
by the camera for connecting and uploading via WIFI, and the cellular interface is used by the
camera for connecting and uploading via the cellular network.
        On this basis alone, the anticipation rejections must be withdrawn because Rothschild
does not show a cellular interface in a camera for uploading pictures, let alone a camera with
both a WIFI and cellular interface. Moreover, Applicant's inventive camera, unlike Rothschild,
uploads over either interface and either type of wireless protocol. Put simply, each and every
element of the independent claims cannot be found in Rothschild.
        The distinction is important, because Applicant's claims are focused (for example) on
inventive camera configurations that involve both interfaces. With respect to Claim 21, the
camera provides options for the user to choose which interface should be used for automatic
uploading. The upload will automatically occur when the appropriate connection is made based
on the particular options selected (i.e., over cellular if that option is selected and a connection is
made, or instead, over WIFI when that option is selected and the connection is made).



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       In claim 30, automatic uploads will occur over either interface, but the WIFI interface is
"preferred" over cellular, so that the camera will automatically use that interface (instead of
cellular) if both connections are simultaneously available.
       In claim 3 8, automatic uploads will occur over either of the two interfaces, and in
addition, an option is available to connect to the home computer via WIFI for purposes of
uploading pictures.
       None of these features are disclosed by Rothschild (which does not even disclose a
camera with a cellular interface), and therefore the anticipation rejections based on Rothschild
must be withdrawn.


IV.    The Section § 103(a) Rejections Should be Withdrawn For Similar Reasons

       Claims 23-25 are allowable over the combination of Rothchild and Imamura based upon
(at minimum) the deficiencies with Rothchild identified above.

Conclusion

       In view of the above, Applicant believes that claims 21 and 23-40 are in condition for
allowance. If the Examiner has any questions or believes an interview would expedite
prosecution of this case, please contact the undersigned.
                                                   Respectfully Submitted,
                                                   /Justin J. Lesko/
                                                   Justin J. Lesko
                                                   Reg. No. 69,643
Dated: December 20, 2017
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                                                   55 East Monroe Street Suite 3800
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                                                   Attorney for Applicant




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              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

Title             AUTOMATIC UPLOAD OF PICTURES FROM A CAMERA
Serial. No.       TBD                Confirmation No. TBD
Applicant         Jeffrey C. Konicek TC/A.U.          TBD
Filed             November 23, 2015  Examiner         TBD

Docket No.        Torpere-F04-512
Customer No.      68468



 Mail Stop Amendment
 Commissioner for Patents
 P.O. Box 1450
 Alexandria VA 22313-1450

                              PRELIMINARY AMENDMENT

 Dear Sir:

         Amendments to the Specification begin on page 2 below.

         Amendments to the Drawings begin on page 3 below.

         Amendments to the Claims begin on page 4 below.

         Applicant's Remarks begin on page 10 below.




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                        AMENDMENTS TO THE SPECIFICATION

       Applicant herewith submits a substitute specification including 1) a new TITLE of the
invention, 2) a cross-reference to related applications, and 3) a brief description of the several
views of the drawings as required by 37 CFR 1.74 and 1.77(b)(7). The substitute specification is
submitted with markings and accompanied by a clean version without markings in compliance
with 37 CFR 1.52, l.12l(b)(3) and 1.125. In accordance with 37 CFR l.125(b), Applicant
believes that the substitute specification contains no new matter.




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                          AMENDMENTS TO THE DRAWINGS

       Please replace Figures 1, 2, 3, 4, and 5a-c with replacement Figures IA, 1B, 2, 3, 4, 5A,

5B, and 5C. The replacement figures are included on sheets 1/8 through 8/8 submitted herewith

and identified as "Replacement Sheets."




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                                  AMENDMENTS TO THE CLAIMS

This listing of claims will replace all prior versions, and listings, of claims in the application.


1 - 20. (Canceled)


21. (New) A camera system comprising:
     (a) a lens;
     (b) a WIFI interface;
     (c) an image sensor configured to take pictures;
     (d) a non-volatile memory configured to store one or more pictures;
     (e) a touch sensitive display configured to display:
            (1) a user-selectable menu option to designate one or more pictures stored in the non-
                   volatile memory to be uploaded to a remote picture hosting service; and
            (2) a user-selectable menu option to enable a controller to automatically connect to
                   the remote picture hosting service and upload designated pictures stored in the
                   non-volatile memory via the WIFI interface;
     (f) the controller configured to automatically connect to the remote picture hosting service
and cause an upload of one or more pictures stored in the non-volatile memory to the remote
picture hosting service via the WIFI interface, after predetermined conditions are met, the
predetermined conditions including receiving:
            (1) an indication that the menu options of elements (e)(l) and (e)(2) have been
                   enabled; and
            (2) an indication that the system is connected to the internet via the WIFI interface.


22. (New) The camera system of claim 21 further comprising:
     (g) a wireless cellular interface;
     (h) the touch sensitive display further configured to display a user-selectable menu option to
enable the controller to automatically connect to the remote picture hosting service and upload
designated pictures stored in the non-volatile memory via the wireless cellular interface;
     (i) the controller further configured to automatically connect to the remote picture hosting
service and cause an upload of one or more pictures stored in the non-volatile memory to the

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remote picture hosting service via the wireless cellular interface, after predetermined conditions
are met, the predetermined conditions including receiving:
           (1) an indication that the menu options of elements (e)(l) and (h) have been enabled;
               and
           (2) an indication that the system is connected to the internet via the wireless cellular
               interface.


23. (New) The camera system of claim 21 wherein the remote picture hosting service is
associated with an email account.


24. (New) The camera system of claim 21 further comprising:
     (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
     (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


25. (New) The camera system of claim 21, wherein the remote picture hosting service includes
printing services.


26. (New) The camera system of claim 21 further comprising a camera body and a stylus housed
within the camera body.


27. (New) The camera system of claim 21, wherein the controller is further configured with a
picture editor for creating and storing a picture sequence file in the non-volatile memory, the
picture sequence file comprising:
           (1) a first picture taken with the image sensor and stored in the non-volatile memory;
           (2) a second picture taken with the image sensor and stored in the non-volatile
               memory;
           (3) data from a sound file downloaded via the WIFI interface and stored in the non-
               volatile memory.


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28. (New) The camera system of claim 27, wherein the controller is further configured to upload
the picture sequence file to the remote picture hosting service via the WIFI interface.


29. (New) The camera system of claim 21 wherein the controller is configured to receive a
selection of specific pictures stored in the non-volatile memory to be uploaded to the remote
picture hosting service.


30. (New) A camera system comprising:
     (a) a lens;
     (b) two or more network interfaces, including at least a WIFI interface and a wireless
cellular interface;
     (d) an image sensor configured to take pictures;
     (e) a non-volatile memory configured to store one or more pictures;
     (f) a touch sensitive display configured to display:
            (1) a user-selectable menu option to designate one or more pictures stored in the non-
                   volatile memory to be uploaded to a remote picture hosting service; and
            (2) a user-selectable menu option to enable a controller to automatically connect to
                   the remote picture hosting service and upload designated pictures stored in the
                   non-volatile memory; and
     (f) the controller configured to:
            (1) automatically connect to the remote picture hosting service and cause an upload of
                   one or more pictures stored in the non-volatile memory to the remote picture
                   hosting service via one of the two or more network interfaces, after predetermined
                   conditions are met, the predetermined conditions including receiving:
                   (i) an indication that the menu options of elements (e)(l) and (e)(2) have been
                       enabled; and
                   (ii) an indication that the system is connected to the internet via at least one of the
                      two or more network interfaces; and
            (2) cause the upload to occur via the WIFI interface if the system is connected to the
                   internet via both the WIFI interface and the wireless cellular interface.


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31. (New) The camera system of claim 30 wherein the remote picture hosting service is
associated with an email account.


32. (New) The camera system of claim 30 further comprising:
     (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
     (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


33. (New) The camera system of claim 30, wherein the remote picture hosting service includes
printing services.


34. (New) The camera system of claim 30 further comprising a camera body and a stylus housed
within the camera body.


35. (New) The camera system of claim 30, wherein the controller is further configured with a
picture editor for creating and storing a picture sequence file in the non-volatile memory, the
picture sequence file comprising:
              (1) a first picture taken with the image sensor and stored in the non-volatile memory;
              (2) a second picture taken with the image sensor and stored in the non-volatile
                 memory;
              (3) data from a sound file downloaded via one of the two or more interfaces and
                 stored in the non-volatile memory.


36. (New) The camera system of claim 35, wherein the controller is further configured to upload
the picture sequence file to the remote picture hosting service via one of the two or more
interfaces.




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37. (New) The camera system of claim 30 wherein the controller is configured to receive a
selection of specific pictures stored in the non-volatile memory to be uploaded to the remote
picture hosting service.


38. (New) A camera system comprising:
     (a) a lens;
     (b) two or more network interfaces, including at least a WIFI interface and a wireless
cellular interface;
     (c) an image sensor configured to take pictures;
     (d) a non-volatile memory configured to store one or more pictures;
     (e) a touch sensitive display configured to display:
            (1) a user-selectable menu option to designate one or more pictures stored in the non-
                   volatile memory to be uploaded to a remote picture hosting service;
            (2) a user-selectable menu option to enable a controller to automatically connect to
                   the remote picture hosting service and upload designated pictures stored in the
                   non-volatile memory via at least one of the network interfaces;
            (3) a user-selectable menu option to enable the controller to automatically connect to
                   a home computer and upload designated pictures stored in the non-volatile
                   memory via the WIFI interface; and
     (f) the controller configured to
            (1) automatically connect to the remote picture hosting service and cause an upload
                   of one or more pictures stored in the non-volatile memory to the remote picture
                   hosting service via at least one of the network interfaces, after predetermined
                   conditions are met, the predetermined conditions including at least receiving:
                   (i) an indication that the menu options of elements (e)(l) and (e)(2) have been
                       enabled;
                   (ii) an indication that the system is connected to the internet via either of the
                      network interfaces to the remote picture hosting service;
            (2) automatically connect to the home computer and cause an upload of one or more
                   pictures stored in the non-volatile memory to the home computer via the WIFI



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              interface, after predetermined conditions are met, the predetermined conditions
              including at least receiving:
               (i) an indication that the menu options of elements (e)(l) and (e)(3) have been
                  enabled;
               (ii) an indication that the system is connected to the home computer via the WIFI
                  interface.


39. (New) The camera system of claim 38 further comprising:
    (g) a voice recognizer (1) coupled to and configured to receive and process sounds
transduced by at least one microphone, and (2) configured to recognize one or more words
associated with an operation for the camera;
    (h) the controller further configured to cause the camera to perform the operation associated
with the one or more words recognized by the voice recognizer.


40. (New) The camera system of claim 38 further comprising a camera body and a stylus housed
within the camera body.




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                                            REMARKS
       In this preliminary amendment, Applicant has amended the title of the invention and the
specification to cross-reference related applications. In the claims, Applicant cancels claims 1 -
20 and adds new claims 21 - 40 (3 independent claims and 17 dependent claims). No claim fees
are believed to be due herewith.
       No new matter has been added. To assist the Examiner, Applicant provides herewith as
Exhibit 1 a chart identifying representative support for the pending claims in the specification of
issued U.S. Pat. No. 7,697,827, to which this application claims priority.
       Independent claims 21, 30, and 38 submitted herewith contain some claim features that
are similar to claims that have issued in related cases. Specifically, claims 21, 30, and 38 include
features similar to issued claim 21 of U.S. Patent No. 8,831,418, claim 1 of U.S. Patent No.
8,897,634, and claim 1 of U.S . Patent No . 8,923,692. Accordingly, Applicant refers the
Examiner to the file histories of the issued patents as well as the comprehensive Information
Disclosure Statement filed herewith. Applicant believes that these new independent claims are
allowable at least for similar reasons as the issued claims.
       The remaining dependent claims are allowable as depending from the allowable
independent claim and for their own additional limitations.
       In addition, Applicant has taken care to prepare the claims in a manner that does not fall
within 35 U.S.C . Section 112, Para. 6. Specifically, Applicant has undertaken to draft the claims
in a manner that recites structure, material, or acts in support of the various operations.
Applicant requests that the Examiner inform Applicant if he believes that any claim falls within
35 U.S.C. Section 112, Para. 6, so that appropriate amendments can be made.
       Applicant has also taken care to prepare the claims in compliance with 35 U.S.C. § 101
requiring claims to be directed to specific patentable subject matter. Applicant requests that the
Examiner inform Applicant if he believes any claim is directed to any unpatentable subject
matter so that appropriate amendments can be made.
       Applicant also expressly reserves the right to swear behind and antedate art references
(including those references identified in the various Information Disclosure Statements filed
herein) pursuant to 37 C.F.R. § 1.131.




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       In view of the above, Applicant believes that claims 21-40 are in condition for allowance.
If the Examiner has any questions or believes an interview would expedite prosecution of this
case, please contact the undersigned.
                                                    Respectfully Submitted,

                                                    /Justin J. Lesko/
                                                    Justin J. Lesko
                                                    Reg. No. 69,643
Dated: November 24, 2015
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                                                    Chicago, IL 60603
                                                    Telephone: (773) 484-3285
                                                    Attorney for Applicant




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                                           EXHIBIT 1


21. A camera system                  See, e.g., 8:66-67: "Another application of this aspect of the in-
compnsmg:                     vention uses the touchpad 62 to inform the camera system to zoom the
(a) a lens;                   lens . .. "

(b) a WIFI interface;             See, e.g., 11 :37:45: "In a second preferred embodiment of this as-
                             pect of the invention, the inventive camera system is equipped with
                             software and hardware coupled to the camera controller 40 allowing
                             independent communication with a computer network for the primary
                             purpose of communicating its pictures over the internet. Currently pre-
                             ~erred is WIFI which is typically connected by LAN, routers, etc. to the
                             internet and which usually allows WIFI-equipped devices to inde-
                             pendently connect to the internet."
(c) an image sensor                See, e.g., 12:57-66: "The figure shows one embodiment of the
configured to take            system and the relationship between the camera controller 40, camera
pictures;                     CCD 54 ...."

(d) a non-volatile memory        See, e.g., 12:57-66: "The figure shows one embodiment of the
configured to store one or  system and the relationship between the camera controller 40, camera
more pictures;              CCD 54, AF motor (also referred to as auto focus 60 system) 48,
                            zoom motor (also referred to as zoom) 46, stora!(e media 44 ... ."
(e) a touch sensitive            See, e.g., 6:34-35: "Another aspect of the present invention pro-
display configured to       vides that the camera LCD display 14 employs touch sensitive tech-
display:                    nology."
                                 See also, e.g., 6:37-41: "This aspect of the present invention al-
                            lows the user to interact with menus, features and functions displayed
                            on the LCD display directly rather than through ancillary buttons or
                            cursor control."
(1) a user-selectable menu       See, e.g., 12:6-38: "[T]he inventive camera system is operable
option to designate one or for being instructed to automatically initiate a connection to the in-
more pictures stored in the ternet, LAN, printer, etc. whenever the predetermined conditions are
non-volatile memory to be met and it is in range of the network connection, (e.g., WIFI, Blue-
uploaded to a remote        tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
picture hosting service;    tem automatically connects to the internet preferably via WIFI, alt-
and                         hough cellular network, etc. connection is also contemplated, when it
                            has a predetermined number of pictures and can so connect, and will
                            send the pictures to virtually any internet destination without user in-
                            tervention. For example, the inventive camera system can be in-
                            structed to automatically send the pictures to an email account, inter-
                            net picture hosting site, web-based photo printing site, the user's in-
                            ternet-connected home computer (when he is on vacation, for in-
                            stance), etc. In this way, valuable pictures are immediately backed-up
                            and the need for reliance on expensive camera storage media like
                            flash cards, SD, etc. is greatly reduced."

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                                    See also, e.g., 6:37-41: "This aspect of the present invention al-
                              lows the user to interact with menus, features and functions displayed
                              on the LCD display directly rather than through ancillary buttons or
                              cursor control."
(2) a user-selectable menu          See, e.g., 12:6-38: "[T]he inventive camera system is operable
option to enable a            for being instructed to automatically initiate a connection to the in-
controller to automatically   ternet, LAN, printer, etc. whenever the predetermined conditions are
connect to the remote         met and it is in range of the network connection, (e.g., WIFI, Blue-
picture hosting service and   tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
upload designated pictures    tern automatically connects to the internet preferably via WIFI, alt-
stored in the non-volatile    hough cellular network, etc. connection is also contemplated, when it
memory via the WIFI           has a predetermined number of pictures and can so connect, and will
interface;                    send the pictures to virtually any internet destination without user in-
                              tervention. For example, the inventive camera system can be in-
                              structed to automatically send the pictures to an email account, inter-
                              net picture hosting site, web-based photo printing site, the user's in-
                              ternet-connected home computer (when he is on vacation, for in-
                              stance), etc. In this way, valuable pictures are immediately backed-up
                              and the need for reliance on expensive camera storage media like
                              flash cards, SD, etc. is greatly reduced."
                                    See also, e.g. , 6:37-41: "This aspect of the present invention al-
                              lows the user to interact with menus, features and functions displayed
                              on the LCD display directly rather than through ancillary buttons or
                              cursor control."
(f) the controller                  See, e.g., 12:6-38: "[T]he inventive camera system is operable
configured to                 for being instructed to automatically initiate a connection to the in-
automatically connect to      ternet, LAN, printer, etc. whenever the predetermined conditions are
the remote picture hosting    met and it is in range of the network connection, (e.g., WIFI, Blue-
service and cause an          tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
upload of one or more         tern automatically connects to the internet preferably via WIFI, alt-
pictures stored in the non-   hough cellular network, etc. connection is also contemplated, when it
volatile memory to the        has a predetermined number of pictures and can so connect, and will
remote picture hosting        send the pictures to virtually any internet destination without user in-
service via the WIFI          tervention. For example, the inventive camera system can be instruct-
interface, after              ed to automatically send the pictures to an email account, internet
predetermined conditions      picture hosting site, web-based photo printing site, the user's inter-
are met, the predetermined    net-connected home computer (when he is on vacation, for instance),
conditions including          etc. In this way, valuable pictures are immediately backed-up and the
receiving:                    need for reliance on expensive camera storage media like flash cards,
( 1) an indication that the   SD, etc. is greatly reduced."
menu options of elements            See also, e.g., 11 :38-64: "[T]he inventive camera system is
(e)(1) and (e)(2) have been   equipped with software and hardware coupled to the camera controller
enabled; and                  allowing independent communication with a computer network for the
(2) an indication that the    primary purpose of communicating its pictures over the internet. Cur-
system is connected to the    rently preferred is WIFI which is typically connected by LAN, rout-
internet via the WIFI         ers, etc. to the internet and which usually allows WIFI-equipped de-

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interface.                    vices to independently connect to the internet. ... So equipped, the in-
                              ventive camera system can now independently upload its pictures to
                              any of the internet-based photo printing services, such as those pro-
                              vided by Walmart.com, Walgreens.com, Kodak.com, etc., without the
                              need for first storing the photos to a computer system and then con-
                              necting the computer system to the internet to upload the pictures."

22. The camera system of            See, e.g., 11 :38-64: "[T]he inventive camera system is equipped
claim 21 further              with software and hardware coupled to the camera controller allowing
comprising:                   independent communication with a computer network for the primary
(g) a wireless cellular       purpose of communicating its pictures over the internet. Currently
interface;                    preferred is WIFI which is typically connected by LAN, routers, etc.
                              to the internet and which usually allows WIFI-equipped devices to
                              independently connect to the internet. Alternatively, the invention
                              contemplates the use of wired LAN, cellular data networks, etc. as
                              the interconnection technology used by the inventive camera system."
                                    See also, e.g. , 13:45-49: "The aspect of the invention allowing
                              for automatic connection to a LAN or the internet is also contemplat-
                              ed for use with cell phone cameras. This aspect of the invention ame-
                              liorates the prior art storage space limitation which severely hampers
                              the utility of the cell phone camera."
(h) the touch sensitive             See, e.g., 12:6-38: "[T]he inventive camera system is operable
display further configured    for being instructed to automatically initiate a connection to the in-
to display a user-            ternet, LAN, printer, etc. whenever the predetermined conditions are
selectable menu option to     met and it is in range of the network connection, (e.g., WIFI, Blue-
enable the controller to      tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
automatically connect to      tern automatically connects to the internet preferably via WIFI, alt-
the remote picture hosting    hough cellular network, etc. connection is also contemplated, when
service and upload            it has a predetermined number of pictures and can so connect, and will
designated pictures stored    send the pictures to virtually any internet destination without user in-
in the non-volatile           tervention. For example, the inventive camera system can be in-
memory via the wireless       structed to automatically send the pictures to an email account, inter-
cellular interface;           net picture hosting site, web-based photo printing site, the user's in-
                              temet-connected home computer (when he is on vacation, for in-
                              stance), etc. In this way, valuable pictures are immediately backed-up
                              and the need for reliance on expensive camera storage media like
                              flash cards, SD, etc. is greatly reduced."

(i) the controller further          See, e.g., 12:6-38: "[T]he inventive camera system is operable
configured to                 for being instructed to automatically initiate a connection to the in-
automatically connect to      ternet, LAN, printer, etc. whenever the predetermined conditions are
the remote picture hosting    met and it is in range of the network connection, (e.g., WIFI, Blue-
service and cause an          tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
upload of one or more         tern automatically connects to the internet preferably via WIFI, alt-
pictures stored in the non-   hough cellular network, etc. connection is also contemplated, when
volatile memory to the        it has a predetermined number of pictures and can so connect, and will

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remote picture hosting        send the pictures to virtually any internet destination without user in-
service via the wireless      tervention. For example, the inventive camera system can be instruct-
cellular interface, after     ed to automatically send the pictures to an email account, internet
predetermined conditions      picture hosting site, web-based photo printing site, the user's inter-
are met, the predetermined    net-connected home computer (when he is on vacation, for instance),
conditions including          etc. In this way, valuable pictures are immediately backed-up and the
rece1vmg:                     need for reliance on expensive camera storage media like flash cards,
( 1) an indication that the   SD, etc. is greatly reduced."
menu options of elements            See also, e.g., 11 :38-64: "[T]he inventive camera system is
(e)(l) and (h) have been      equipped with software and hardware coupled to the camera controller
enabled; and                  allowing independent communication with a computer network for the
(2) an indication that the    primary purpose of communicating its pictures over the internet. Cur-
system is connected to the    rently preferred is WIFI which is typically connected by LAN, rout-
internet via the wireless     ers, etc. to the internet and which usually allows WIFI-equipped de-
cellular interface.           vices to independently connect to the internet. Alternatively, the in-
                              vention contemplates the use of wired LAN, cellular data networks,
                              etc. as the interconnection technology used by the inventive camera
                              system ..... So equipped, the inventive camera system can now inde-
                              pendently upload its pictures to any of the internet-based photo
                              printing services, such as those provided by Walmart.com,
                              Walgreens.com, Kodak.com, etc., without the need for first storing
                              the photos to a computer system and then connecting the computer
                              system to the internet to upload the pictures."

23. The camera system of            See, e.g., 12:32-38: "For example, the inventive camera system
claim 21 wherein the          can be instructed to automatically send the pictures to an email ac-
remote picture hosting        count, internet picture hosting site, web-based photo printing site,
service is associated with    the user's internet-connected home computer (when he is on vacation,
an email account.             for instance), etc. In this way, valuable pictures are immediately
                              backed-up and the need for reliance on expensive camera storage me-
                              dia like flash cards, SD, etc. is greatly reduced."


24. The camera system of           See, e.g., Abstract: "The voice recognition unit is operable for,
claim 21 further              among other things, receiving multiple different voice commands,
comprising:                   recognizing the vocal commands, associating the different voice
(g) a voice recognizer (1)    commands to one camera command and controlling at least some as-
coupled to and configured     pect of the digital camera operation in response to these voice com-
to receive and process        mands."
sounds transduced by at            See also, e.g. , 12:57-66: "The figure shows one embodiment of
least one microphone, and     the system and the relationship between the camera controller 40,
(2) configured to             camera CCD 54, AF motor (also referred to as auto focus 60 system)
recogmze one or more          48, zoom motor (also referred to as zoom) 46, storage media 44, re-
words associated with an      mote light sensor 66, buttons 64, touch pad device 62, led display 14,
operation for the camera;     view finder 16, view finder sensors 68, gaze tracker 57, view finder
(h) the controller further    use detector 58, wink detector 60, microphone 10d, microphone JOe,

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configured to cause the      microphone lOf, selection circuitry 59, voice recognition unit 56, and
camera to perform the        other camera control 50."
operation associated with
the one or more words
recognized by the voice
recognizer.

25. The camera system of        See, e.g., 11 :58-64: "So equipped, the inventive camera system
claim 21, wherein the     can now independently upload its pictures to any of the internet-
remote picture hosting    based photo printing services, such as those provided by
service includes printing  Walmart.com, Walgreens.com, Kodak.com, etc., without the need
services.                 for first storing the photos to a computer system and then connect-
                          ing the computer system to the internet to upload the pictures."
                                See also, e.g., 12:32-38 : "For example, the inventive camera sys-
                          tern can be instructed to automatically send the pictures to an email
                          account, internet picture hosting site, web-based photo printing site,
                          the user's internet-connected home computer (when he is on vacation,
                          for instance), etc. In this way, valuable pictures are immediately
                          backed-up and the need for reliance on expensive camera storage me-
                          dia like flash cards, SD, etc. is greatly reduced."

26. The camera system of          See, e.g., 6:41-43: "For those embodiments of touch technology
claim 21 further             requiring use of a stylus, it is further contemplated that the camera
comprising a camera body     body house the stylus for easy access by the user."
and a stylus housed within
the camera body.

27. The camera system of          See, e.g., 12:44-54: "According to this aspect of the invention,
claim 21, wherein the        the inventive camera records a series of images, (e.g., a movie) and
controller is further        then the user downloads an MP3 file (i.e., a sound file) from a net-
configured with a picture    work (e.g., internet) source to be associated with the movie taken so
editor for creating and      that when the movie is played, the MP3 file also plays. Alternatively,
storing a picture sequence   the MP3 content is embedded in the movie, either as is, or re-encoded.
file in the non-volatile     Additionally, the user may download other movie material or still im-
memory, the picture          ages via the network connection for insertion in the camera-recorded
sequence file comprising:    movie or for the replacement of certain individual camera-taken
( 1) a first picture taken   "frames" in the movie."
with the image sensor and
stored in the non-volatile
memory;
(2) a second picture taken
with the image sensor and
stored in the non-volatile
memory;
(3) data from a sound file
downloaded via the WIFI

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interface and stored in the
non-volatile memory.

28. The camera system of          See, e.g., 15-48-51: "Internet connectability is contemplated be
claim 2 7, wherein the       used to download sound or image files for editing or for uploading
controller is further        video recorded for editing or remote storage of the video images."
configured to upload the
picture sequence file to the
remote picture hosting
service via the WIFI
interface

29. The camera system of             See, e.g., 11: 15-18: "The camera system preferably includes the
claim 21 wherein the           ability for the user to indicate to the camera which pictures to offload
controller is configured to    so that the camera offloads only those pictures that are so indicated by
receive a selection of         the user."
specific pictures stored in
the non-volatile memory
to be uploaded to the
remote picture hosting
service.

30. A camera system                  See, e.g., 8:66-67: "Another application of this aspect of the in-
compnsmg:                      vention uses the touchpad 62 to inform the camera system to zoom the
(a) a lens;                    lens ... "
 (b) two or more network            See, e.g., 11 :37:47: "In a second preferred embodiment of this as-
interfaces, including at      oect of the invention, the inventive camera system is equipped with
least a WIFI interface and    software and hardware coupled to the camera controller 40 allowing
a wireless cellular           independent communication with a computer network for the primary
interface;                    purpose of communicating its pictures over the internet. Currently pre-
                              ~erred is WIFI which is typically connected by LAN, routers, etc. to
                               he internet and which usually allows WIFI-equipped devices to inde-
                              oendently connect to the internet. Alternatively, the invention contem-
                              plates the use of wired LAN, cellular data networks, etc. as the inter-
                              connection technology used by the inventive camera system."
(d) an image sensor                  See, e.g., 12:57-66: "The figure shows one embodiment of the
configured to take             system and the relationship between the camera controller 40, camera
pictures;                      CCD 54 ...."

(e) a non-volatile memory           See, e.g., 12:57-66: "The figure shows one embodiment of the
configured to store one or     system and the relationship between the camera controller 40, camera
more pictures;                 CCD 54, AF motor (also referred to as auto focus 60 system) 48,
                               zoom motor (also referred to as zoom) 46, storaf(e media 44 ... ."
(f) a touch sensitive               See, e.g., 6:34-35: "Another aspect of the present invention pro-
display configured to          vides that the camera LCD display 14 employs touch sensitive tech-
display:                       nology."

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                                    See also, e.g., 6:37-41: "This aspect of the present invention al-
                              lows the user to interact with menus, features and functions displayed
                              on the LCD display directly rather than through ancillary buttons or
                              cursor control."
(1) a user-selectable menu          See, e.g., 12:6-38: "[T]he inventive camera system is operable
option to designate one or    for being instructed to automatically initiate a connection to the in-
more pictures stored in the   ternet, LAN, printer, etc. whenever the predetermined conditions are
non-volatile memory to be     met and it is in range of the network connection, (e.g., WIFI, Blue-
uploaded to a remote          tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
picture hosting service;      tern automatically connects to the internet preferably via WIFI, alt-
and                           hough cellular network, etc. connection is also contemplated, when
                              it has a predetermined number of pictures and can so connect, and will
                              send the pictures to virtually any internet destination without user in-
                              tervention. For example, the inventive camera system can be in-
                              structed to automatically send the pictures to an email account, inter-
                              net picture hosting site, web-based photo printing site, the user's in-
                              temet-connected home computer (when he is on vacation, for in-
                              stance), etc. In this way, valuable pictures are immediately backed-up
                              and the need for reliance on expensive camera storage media like
                              flash cards, SD, etc. is greatly reduced."
                                    See also, e.g. , 6:37-41: "This aspect of the present invention al-
                              lows the user to interact with menus, features and functions displayed
                              on the LCD display directly rather than through ancillary buttons or
                              cursor control."
(2) a user-selectable menu          See, e.g., 12:6-38: "[T]he inventive camera system is operable
option to enable a            for being instructed to automatically initiate a connection to the in-
controller to automatically   ternet, LAN, printer, etc. whenever the predetermined conditions are
connect to the remote         met and it is in range of the network connection, (e.g., WIFI, Blue-
picture hosting service and   tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
upload designated pictures    tern automatically connects to the internet preferably via WIFI, alt-
stored in the non-volatile    hough cellular network, etc. connection is also contemplated, when it
memory; and                   has a predetermined number of pictures and can so connect, and will
                              send the pictures to virtually any internet destination without user in-
                              tervention. For example, the inventive camera system can be in-
                              structed to automatically send the pictures to an email account, inter-
                              net picture hosting site, web-based photo printing site, the user's in-
                              temet-connected home computer (when he is on vacation, for in-
                              stance), etc. In this way, valuable pictures are immediately backed-up
                              and the need for reliance on expensive camera storage media like
                              flash cards, SD, etc. is greatly reduced."
                                    See also, e.g., 6:37-41: "This aspect of the present invention al-
                              lows the user to interact with menus, features and functions displayed
                              on the LCD display directly rather than through ancillary buttons or
                              cursor control."
(f) the controller                  See, e.g., 12:6-38: "[T]he inventive camera system is operable
conforured to:                for being instructed to automatically initiate a connection to the in-

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(1) automatically connect      ternet, LAN, printer, etc. whenever the predetermined conditions are
to the remote picture          met and it is in range of the network connection, (e.g., WIFI, Blue-
hosting service and cause      tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
an upload of one or more       tern automatically connects to the internet preferably via WIFI, alt-
pictures stored in the non-    hough cellular network, etc. connection is also contemplated, when
volatile memory to the         it has a predetermined number of pictures and can so connect, and will
remote picture hosting         send the pictures to virtually any internet destination without user in-
service via one of the two     tervention. For example, the inventive camera system can be instruct-
or more network                ed to automatically send the pictures to an email account, internet
interfaces, after              picture hosting site, web-based photo printing site, the user's inter-
predetermined conditions       net-connected home computer (when he is on vacation, for instance),
are met, the predetermined     etc. In this way, valuable pictures are immediately backed-up and the
conditions including           need for reliance on expensive camera storage media like flash cards,
receiving:                     SD, etc. is greatly reduced."
(i) an indication that the           See also, e.g., 11 :38-64: "[T]he inventive camera system is
menu options of elements       equipped with software and hardware coupled to the camera controller
(e)(l) and (e)(2) have been    allowing independent communication with a computer network for the
enabled; and                   primary purpose of communicating its pictures over the internet. Cur-
(ii) an indication that the    rently preferred is WIFI which is typically connected by LAN, rout-
system is connected to the     ers, etc. to the internet and which usually allows WIFI-equipped de-
internet via at least one of   vices to independently connect to the internet. Alternatively, the in-
the two or more network        vention contemplates the use of wired LAN, cellular data networks,
interfaces; and                etc. as the interconnection technology used by the inventive camera
                               system ..... So equipped, the inventive camera system can now inde-
                               pendently upload its pictures to any of the internet-based photo
                               printing services, such as those provided by Walmart.com,
                               Walgreens.com, Kodak.com, etc., without the need for first storing
                               the photos to a computer system and then connecting the computer
                               system to the internet to upload the pictures."
(2) cause the upload to              See, e.g., 12:26-31: "[T]he inventive camera system automatical-
occur via the WIFI             ly connects to the internet preferably via WIFI, although cellular
interface if the system is     network, etc. connection is also contemplated, when it has a prede-
connected to the internet      termined number of pictures and can so connect, and will send the
via both the WIFI              pictures to virtually any internet destination without user interven-
interface and the wireless     tion."
cellular interface.                  See also, e.g., 11 :42-47: "Currently preferred is WIFI which is
                               typically connected by LAN, routers, etc. to the internet and which
                               usually allows WIFI-equipped devices to independently connect to the
                               internet. Alternatively, the invention contemplates the use of wired
                               LAN, cellular data networks, etc. as the interconnection technology
                               used by the inventive camera system."

31. The camera system of            See, e.g., 12:32-38: "For example, the inventive camera system
claim 30 wherein the           can be instructed to automatically send the pictures to an email ac-
remote picture hosting         count, internet picture hosting site, web-based photo printing site,
service is associated with     the user's internet-connected home computer (when he is on vacation,

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an email account             for instance), etc. In this way, valuable pictures are immediately
                             backed-up and the need for reliance on expensive camera storage me-
                             dia like flash cards, SD, etc. is greatly reduced."

32. The camera system of          See, e.g., Abstract: "The voice recognition unit is operable for,
claim 30 further             among other things, receiving multiple different voice commands,
comprising:                  recognizing the vocal commands, associating the different voice
(g) a voice recognizer (1)   commands to one camera command and controlling at least some as-
coupled to and configured    pect of the digital camera operation in response to these voice com-
to receive and process       mands."
sounds transduced by at           See also, e.g., 12:57-66: "The figure shows one embodiment of
least one microphone, and    the system and the relationship between the camera controller 40,
(2) configured to            camera CCD 54, AF motor (also referred to as auto focus 60 system)
recognize one or more        48, zoom motor (also referred to as zoom) 46, storage media 44, re-
words associated with an     mote light sensor 66, buttons 64, touch pad device 62, led display 14,
operation for the camera;    view finder 16, view finder sensors 68, gaze tracker 57, view finder
(h) the controller further   use detector 58, wink detector 60, microphone 10d, microphone JOe,
configured to cause the      microphone JOf, selection circuitry 59, voice recognition unit 56, and
camera to perform the        other camera control 50."
operation associated with
the one or more words
recognized by the voice
recognizer.

33. The camera system of        See, e.g., 11 :58-64: "So equipped, the inventive camera system
claim 30, wherein the     can now independently upload its pictures to any of the internet-
remote picture hosting    based photo printing services, such as those provided by
service includes printing  Walmart.com, Walgreens.com, Kodak.com, etc., without the need
services.                 for first storing the photos to a computer system and then connect-
                          ing the computer system to the internet to upload the pictures."
                                See also, e.g., 12:32-38: "For example, the inventive camera sys-
                          tern can be instructed to automatically send the pictures to an email
                          account, internet picture hosting site, web-based photo printing site,
                          the user's internet-connected home computer (when he is on vacation,
                          for instance), etc. In this way, valuable pictures are immediately
                          backed-up and the need for reliance on expensive camera storage me-
                          dia like flash cards, SD, etc. is greatly reduced."

34. The camera system of          See, e.g., 6:41-43: "For those embodiments of touch technology
claim 30 further             requiring use of a stylus, it is further contemplated that the camera
comprising a camera body     body house the stylus for easy access by the user."
and a stylus housed within
the camera body.

35. The camera system of          See, e.g., 12:44-54: "According to this aspect of the invention,
claim 30, wherein the        the inventive camera records a series of images, (e.g., a movie) and

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controller is further         then the user downloads an MP3 file (i.e., a sound file) from a net-
configured with a picture     work (e.g., internet) source to be associated with the movie taken so
editor for creating and       that when the movie is played, the MP3 file also plays. Alternatively,
storing a picture sequence    the MP3 content is embedded in the movie, either as is, or re-encoded.
file in the non-volatile      Additionally, the user may download other movie material or still im-
memory, the picture           ages via the network connection for insertion in the camera-recorded
sequence file comprising:     movie or for the replacement of certain individual camera-taken
(1) a first picture taken     "frames" in the movie."
with the image sensor and
stored in the non-volatile
memory;
(2) a second picture taken
with the image sensor and
stored in the non-volatile
memory;
(3) data from a sound file
downloaded via one of the
two or more interfaces and
stored in the non-volatile
memory.

36. The camera system of          See, e.g., 15-48-51: "Internet connectability is contemplated be
claim 35, wherein the        used to download sound or image files for editing or for uploading
controller is further        video recorded for editing or remote storage of the video images."
configured to upload the
picture sequence file to the
remote picture hosting
service via one of the two
or more interfaces.

37. The camera system of            See, e.g., 11:15-18: "The camera system preferably includes the
claim 30 wherein the          ability for the user to indicate to the camera which pictures to offload
controller is configured to   so that the camera offloads only those pictures that are so indicated by
receive a selection of        the user."
specific pictures stored in
the non-volatile memory
to be uploaded to the
remote picture hosting
service.

38. A camera system                 See, e.g., 8:66-67: "Another application of this aspect of the in-
compnsmg:                     vention uses the touchpad 62 to inform the camera system to zoom the
(a) a lens;                   lens ... "

(b) two or more network            See, e.g., 11 :37:47: "In a second preferred embodiment of this as-
interfaces, including at      pect of the invention, the inventive camera system is equiooed with

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least a WIFI interface and software and hardware coupled to the camera controller 40 allowing
a wireless cellular         independent communication with a computer network for the primary
interface;                  purpose of communicating its pictures over the internet. Currently pre-
                            ferred is WIFI which is typically connected by LAN, routers, etc. to
                             he internet and which usually allows WIFI-equipped devices to inde-
                            pendently connect to the internet. Alternatively, the invention contem-
                            plates the use of wired LAN, cellular data networks, etc. as the inter-
                            connection technology used by the inventive camera system."
(c) an image sensor                See, e.g., 12:57-66: "The figure shows one embodiment of the
configured to take           system and the relationship between the camera controller 40, camera
pictures;                    CCD 54 ...."
(d) a non-volatile memory          See, e.g., 12:57-66: "The figure shows one embodiment of the
configured to store one or system and the relationship between the camera controller 40, camera
more pictures;               CCD 54, AF motor (also referred to as auto focus 60 system) 48,
                             zoom motor (also referred to as zoom) 46, storage media 44 .. .. "
(e) a touch sensitive              See, e.g., 6:34-35: "Another aspect of the present invention pro-
display configured to        vides that the camera LCD display 14 employs touch sensitive tech-
display:                     nology."
                                   See also, e.g., 6:37-41: "This aspect of the present invention al-
                             lows the user to interact with menus, features and functions displayed
                             on the LCD display directly rather than through ancillary buttons or
                             cursor control."
(1) a user-selectable menu         See, e.g., 12:6-38: "[T]he inventive camera system is operable
option to designate one or for being instructed to automatically initiate a connection to the in-
more pictures stored in the ternet, LAN, printer, etc. whenever the predetermined conditions are
non-volatile memory to be met and it is in range of the network connection, (e.g., WIFI, Blue-
uploaded to a remote         tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
picture hosting service;     tem automatically connects to the internet preferably via WIFI, alt-
                             hough cellular network, etc. connection is also contemplated, when
                             it has a predetermined number of pictures and can so connect, and will
                             send the pictures to virtually any internet destination without user in-
                             tervention. For example, the inventive camera system can be in-
                             structed to automatically send the pictures to an email account, inter-
                             net picture hosting site, web-based photo printing site, the user's in-
                             ternet-connected home computer (when he is on vacation, for in-
                             stance), etc. In this way, valuable pictures are immediately backed-up
                             and the need for reliance on expensive camera storage media like
                             flash cards, SD, etc. is greatly reduced."
                                   See also, e.g., 6:37-41: "This aspect of the present invention al-
                             lows the user to interact with menus, features and functions displayed
                             on the LCD display directly rather than through ancillary buttons or
                             cursor control."
(2) a user-selectable menu         See, e.g., 12:6-38: "[T]he inventive camera system is operable
option to enable a           for being instructed to automatically initiate a connection to the in-
controller to automatically ternet, LAN, printer, etc. whenever the predetermined conditions are
connect to the remote        met and it is in range of the network connection, (e.g., WIFI, Blue-

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picture hosting service and   tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
upload designated pictures    tern automatically connects to the internet preferably via WIFI, alt-
stored in the non-volatile    hough cellular network, etc. connection is also contemplated, when it
memory via at least one of    has a predetermined number of pictures and can so connect, and will
the network interfaces;       send the pictures to virtually any internet destination without user in-
                              tervention. For example, the inventive camera system can be in-
                              structed to automatically send the pictures to an email account, inter-
                              net picture hosting site, web-based photo printing site, the user's in-
                              ternet-connected home computer (when he is on vacation, for in-
                              stance), etc. In this way, valuable pictures are immediately backed-up
                              and the need for reliance on expensive camera storage media like
                              flash cards, SD, etc. is greatly reduced."
                                    See also, e.g. , 6:37-41: "This aspect of the present invention al-
                              lows the user to interact with menus, features and functions displayed
                              on the LCD display directly rather than through ancillary buttons or
                              cursor control."
(3) a user-selectable menu          See, e.g., 12:6-38: "[T]he inventive camera system is operable
option to enable the          for being instructed to automatically initiate a connection to the in-
controller to automatically   ternet, LAN, printer, etc. whenever the predetermined conditions are
connect to a home             met and it is in range of the network connection, (e.g., WIFI, Blue-
computer and upload           tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
designated pictures stored    tern automatically connects to the internet preferably via WIFI, alt-
in the non-volatile           hough cellular network, etc. connection is also contemplated, when it
memory via the WIFI           has a predetermined number of pictures and can so connect, and will
interface; and                send the pictures to virtually any internet destination without user in-
                              tervention. For example, the inventive camera system can be in-
                              structed to automatically send the pictures to an email account, inter-
                              net picture hosting site, web-based photo printing site, the user's in-
                              ternet-connected home computer (when he is on vacation, for in-
                              stance), etc. In this way, valuable pictures are immediately backed-up
                              and the need for reliance on expensive camera storage media like
                              flash cards, SD, etc. is greatly reduced."
                                    See also, e. g. , 6:37-41: "This aspect of the present invention al-
                              lows the user to interact with menus, features and functions displayed
                              on the LCD display directly rather than through ancillary buttons or
                              cursor control."
(f) the controller                  See, e.g., 12:6-38: "[T]he inventive camera system is operable
configured to                 for being instructed to automatically initiate a connection to the in-
(1) automatically connect     ternet, LAN, printer, etc. whenever the predetermined conditions are
to the remote picture         met and it is in range of the network connection, (e.g., WIFI, Blue-
hosting service and cause     tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
an upload of one or more      tern automatically connects to the internet preferably via WIFI, alt-
pictures stored in the non-   hough cellular network, etc. connection is also contemplated, when
volatile memory to the        it has a predetermined number of pictures and can so connect, and will
remote picture hosting        send the pictures to virtually any internet destination without user in-
service via at least one of   tervention. For example, the inventive camera system can be instruct-

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the network interfaces,       ed to automatically send the pictures to an email account, internet
after predetermined           picture hosting site, web-based photo printing site, the user's inter-
conditions are met, the       net-connected home computer (when he is on vacation, for instance),
predetermined conditions      etc. In this way, valuable pictures are immediately backed-up and the
including at least            need for reliance on expensive camera storage media like flash cards,
rece1vmg:                     SD, etc. is greatly reduced."
(i) an indication that the          See also, e.g., 11 :38-64: "[T]he inventive camera system is
menu options of elements      equipped with software and hardware coupled to the camera controller
(e)(l) and (e)(2) have been   allowing independent communication with a computer network for the
enabled;                      primary purpose of communicating its pictures over the internet. Cur-
(ii) an indication that the   rently preferred is WIFI which is typically connected by LAN, rout-
system is connected to the    ers, etc. to the internet and which usually allows WIFI-equipped de-
internet via either of the    vices to independently connect to the internet. Alternatively, the in-
network interfaces to the     vention contemplates the use of wired LAN, cellular data networks,
remote picture hosting        etc. as the interconnection technology used by the inventive camera
service;                      system..... So equipped, the inventive camera system can now inde-
                              pendently upload its pictures to any of the internet-based photo
                              printing services, such as those provided by Walmart.com,
                              Walgreens.com, Kodak.com, etc., without the need for first storing
                              the photos to a computer system and then connecting the computer
                              system to the internet to upload the pictures."
(2) automatically connect           See, e.g., 12:6-38: "[T]he inventive camera system is operable
to the home computer and      for being instructed to automatically initiate a connection to the in-
cause an upload of one or     ternet, LAN, printer, etc. whenever the predetermined conditions are
more pictures stored in the   met and it is in range of the network connection, (e.g., WIFI, Blue-
non-volatile memory to        tooth, wireless USB, wired LAN, etc) .... [T]he inventive camera sys-
the home computer via the     tern automatically connects to the internet preferably via WIFI, alt-
WIFI interface, after         hough cellular network, etc. connection is also contemplated, when it
predetermined conditions      has a predetermined number of pictures and can so connect, and will
are met, the predetermined    send the pictures to virtually any internet destination without user in-
conditions including at       tervention. For example, the inventive camera system can be instruct-
least receiving:              ed to automatically send the pictures to an email account, internet pie-
(i) an indication that the    ture hosting site, web-based photo printing site, the user's internet-
menu options of elements      connected home computer (when he is on vacation, for instance), etc.
(e)(l) and (e)(3) have been   In this way, valuable pictures are immediately backed-up and the need
enabled;                      for reliance on expensive camera storage media like flash cards, SD,
(ii) an indication that the   etc. is greatly reduced."
system is connected to the
home computer via the
WIFI interface.

39. The camera system of           See, e.g., Abstract: "The voice recognition unit is operable for,
claim 3 8 further             among other things, receiving multiple different voice commands,
       ..
compnsmg:                     recognizing the vocal commands, associating the different voice
(g) a voice recognizer (1)    commands to one camera command and controlling at least some as-
coupled to and configured     pect of the digital camera operation in response to these voice com-

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to receive and process       mands."
sounds transduced by at           See also, e. g., 12:57-66: "The figure shows one embodiment of
least one microphone, and    the system and the relationship between the camera controller 40,
(2) configured to            camera CCD 54, AF motor (also referred to as auto focus 60 system)
recogmze one or more         48, zoom motor (also referred to as zoom) 46, storage media 44, re-
words associated with an     mote light sensor 66, buttons 64, touch pad device 62, led display 14,
operation for the camera;    view finder 16, view finder sensors 68, gaze tracker 57, view finder
(h) the controller further   use detector 58, wink detector 60, microphone 10d, microphone JOe,
configured to cause the      microphone JOf, selection circuitry 59, voice recognition unit 56, and
camera to perform the        other camera control 50."
operation associated with
the one or more words
recognized by the voice
recognizer.

40. The camera system of          See, e.g., 6:41-43: "For those embodiments of touch technology
claim 3 8 further            requiring use of a stylus, it is further contemplated that the camera
comprising a camera body     body house the stylus for easy access by the user."
and a stylus housed within
the camera body.




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